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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


SHARON McDONALD,                      )
                                      )
                 Plaintiff,           )
       v.                             )             CIVIL ACTION
                                      )             NO. 15-11915-JGD
CITY OF BOSTON and                    )
RICHARD WALKER,                       )
                                      )
                 Defendants.          )


                               SETTLEMENT ORDER OF DISMISSAL

DEIN, U.S.M.J.

       The Court having been advised on November 1, 2018 that the above-entitled action has

been settled;

       IT IS ORDERED that this action is hereby dismissed without costs and without prejudice

to the right of any party, upon good cause shown, to reopen the action within sixty (60) days if

settlement is not consummated.

                                                    BY THE COURT,


                                                    / s / Jolyne D’Ambrosio
                                                    By: Deputy Clerk
DATED: November 2, 2018
